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                   UNITED STATES DISTRICT COURT
           WESTERN DISTRICT OF KENTUCKY AT BOWLING GREEN


State Farm Fire and Casualty Company
as subrogee of Sharon Bessette
     &#(.#                                                  1:20-cv-110-GNS
                                                         C.A. _________
v.
Morris Borders
     Defendant

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Plaintiff State Farm Fire and Casualty Company (“State Farm”) is a non-governmental cor-
porate party. State Farm has no parent corporation, and no publicly held corporation owns
10% or more of its stock.

      Thursday, June 25, 2020       Respectfully submitted,
                                    LOUISVILLE LAW, PLLC

                                    By: /s/Jeffrey    E. Hiatt
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